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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,
                                                                CASE No. 1:20-CR-183
v.
                                                                HON. ROBERT J. JONKER
ADAM DEAN FOX, et al.,

                Defendants.

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                                               ORDER

         On August 11, Attorney Blanchard filed a brief reporting a possible juror misconduct

issue. (ECF No. 707). The Court placed the filing on restricted access pending further

investigation. (ECF No. 709). The Court consulted with counsel and conducted its own

investigation. On August 14, the Court concluded based on its investigation that the record did

not disclose a basis to doubt the subject juror’s honesty, and that the jury as constituted could fairly

continue with and decide the case. The Court filed its own Order on a restricted access basis

too. (ECF Nos. 711 and 712).1

         After the Court received the jury’s verdict and discharged the jury today, Attorney

Blanchard made an oral motion to make his original filing public. The Court declined to do so on

an oral motion without having the opportunity review the subject documents and consider what, if

anything, should be made public at this time. After again reviewing Attorney Blanchard’s brief




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  The content of ECF Nos. 711 and 712 is identical. A second filing was necessary to correct a
service issue.
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(ECF No. 707) and this Court’s Order (ECF Nos. 711 and 712), the Court is satisfied that both

items can now be public without creating undue risk to the jury process itself or to the privacy

interests of any individual juror. Accordingly, the Court directs the Clerk of Court to remove ECF

Nos. 707, 711 and 712 from restricted access and to make those documents public.

         As specified in earlier Orders today (ECF Nos. 726 and 727), any future filings that seek

to impeach the verdict or otherwise involve jurors, individually or as a group, shall be filed on a

restricted access basis, available only the parties and the Court, pending further Order of the

Court. This will enable the Court to continue balancing the relevant interests in the timing and

content of public disclosures of any such filings.

         IT IS SO ORDERED.



Dated:      August 23, 2022                   /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              UNITED STATES DISTRICT JUDGE




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